Case 3:00-cv-02044-P Document 39 Filed 04/17/08 Page1of1i PagelD 201

United States Court of Appeals

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UNITED STATES COURT OF APPEALSFebruary 26, 2008
FOR THE FIFTH CIRCUIT Charles a Fulbruge HI
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7 COURT

No. 03-11137 “cf OF TEXAS

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D.C. Docket No. 3:00-CV-2044

 

CHARLES E MINES, JR

Petitioner - Appellant CLERK, U.S. DISTRICT COURT |

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NATHANIEL QUARTERMAN, DIRECTOR, TEXAS DEPARTMENT OF CRIMINAL
JUSTICE, CORRECTIONAL INSTITUTIONS DIVISION
Respondent - Appellee
Appeal from the United States District Court for the

Northern District of Texas, Dallas.

Before BARKSDALE, GARZA, and DENNIS, Circuit Judges.

JUDGMENT
This cause was considered on the record on appeal and was
argued by counsel.

It is ordered and adjudged that the judgment of the District
Court is affirmed in part and reversed in part, and the cause is
remanded to the District Court for further proceedings in
accordance with the opinion of this Court.

ISSUED AS MANDATE: APR 14 2008

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Clerk, U.S. Court of Appeals, Fifth Circuit

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Deputy v

New Orleans, Louisiana
